402 F.2d 775
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.WESTERN BUILDING MAINTENANCE COMPANY and Service andMaintenance Employees Union, Local 399, BuildingService Employees International Union,AFL-CIO, Respondents.
    No. 22423.
    United States Court of Appeals Ninth Circuit.
    Oct. 24, 1968.
    
      Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Assoc.  Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, Nancy M. Sherman, Laurence J. Hoffman, Attys., Washington, D.C., Ralph E. Kennedy, Director, N.L.R.B., for appellant.
      Herlihy &amp; Herlihy, Levy, DeRoy Geffner &amp; Van Bourg, Cooper, Tepper &amp; Plant, Los Angeles, Cal., for appellees.
      Before MERRILL and DUNIWAY, Circuit Judges, and CRARY, District judge.1
      PER CURIAM:
    
    
      1
      Upon the record as a whole there is substantial evidence to support the Board's findings that the Company and the Union jointly engaged in a hiring procedure whereby job applicants and newly hired employees were required to execute Union membership applications and dues checkoff authorizations prior to the expiration of the first 30 days of their employment.
    
    
      2
      The Board was not in error in concluding that by such conduct the Company and the Union violated section 8(a)(1), (2) and (3), and section 8(b)(2) and (1)(A) of the National Labor Relations Act, respectively, and the Company unlawfully assisted the Union in violation of section 8(a)(2) and (1) of the Act.  NLRB v. Campbell Soup Company, 378 F.2d 259 (9th Cir.), cert. denied, 389 U.S. 900, 88 S.Ct. 220, 19 L.Ed.2d 217 (1967).
    
    
      3
      The Board order is entitled to enforcement.
    
    
      
        1
         Honorable E. Avery Crary, United States District Judge for the Central District of California, sitting by designation
      
    
    